      Case 1-22-40412-ess             Doc 18       Filed 04/12/22   Entered 04/12/22 18:28:30




UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
--------------------------------------------------------X
In re:                                                              Case No.: 1-22-40412-ess


  Produce Depot USA LLC,                                            Chapter 7


                                               Debtor.
-------------------------------------------------------X


                                     NOTICE OF ADJOURNMENT


PLEASE TAKE NOTICE that Initial hearing originally scheduled to be held on April 14, 2022,
at 10:30 A.M., Courtroom 3585, has been adjourned on consent and will now be held on May
26, 2022, at 10:30 A.M.



Dated: Brooklyn, NY
April 12, 2022                                                /s/ Alla Kachan
                                                              Alla Kachan, Esq.
